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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              :
 NETWORK DATA ROOMS, LLC,                                     :
                                            Plaintiff,        :
                                                              :   22 Civ. 2299 (LGS)
                            -against-                         :
                                                              :         ORDER
 SAULREALISM LLC, et al.,                                     :
                                            Defendants. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, on August 5, 2022, Defendants submitted an ex parte letter to Chambers via

email regarding the potential falsification of evidence in this action. It is hereby

        ORDERED that by August 9, 2022, Defendants shall serve a copy of the letter on

Plaintiff. It is further

        ORDERED that by August 12, 2022, Plaintiff shall file a response.

Dated: August 8, 2022
       New York, New York
